     Case 6:10-cv-00265-MSS
     Case 6:10-cv-00265-MSS Document
                            Document 23
                                     23 Filed
                                        Filed 03/11/11
                                              03/11/11 Page
                                                       Page 11 of
                                                               of 33 PageID
                                                                     PageID 455
                                                                            452



                          UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

In Re: Janice K. Jennings, Debtor.

BRANDON JAMES MAXFIELD,

         Appellant,

v.
                                                           Case No. 6:10-cv-265-Orl-35
JANICE K. JENNINGS,

     Appellee.
__________________________________/

                            JUDGMENT IN A CIVIL CASE

Decision by Court.           This action came to trial or hearing before the Court. The
                             issues have been tried or heard and a decision has been
                             rendered.

         IT IS ORDERED AND ADJUDGED as follows:

         (1) Pursuant to the Order entered on March 11, 2011, the Bankruptcy Court’s Order

         denying Appellant’s Motion for Summary Judgment and granting Appellee Janice

         K. Jennings’s Motion for Summary Judgment reversed; and

         (2) The matter remanded to the Bankruptcy Court to vacate the Order denying

         Appellant’s Motion for Summary Judgment and granting Appellee Janice K.

         Jennings’s Motion for Summary Judgment as well as the Judgment entered in favor

         of Appellee Janice K. Jennings.


               Date: March 11, 2011

                                                 SHERYL L. LOESCH, CLERK

                                                 Isabella Cammarota, Deputy Clerk
Case 6:10-cv-00265-MSS
Case 6:10-cv-00265-MSS Document
                       Document 23
                                23 Filed
                                   Filed 03/11/11
                                         03/11/11 Page
                                                  Page 22 of
                                                          of 33 PageID
                                                                PageID 456
                                                                       453
                                       CIVIL APPEALS JURISDICTION CHECKLIST



       1. Appealable Orders: Courts of Appeals have jurisdiction conferred and strictly limited by statute:



           (a)       Appeals from final orders pursuant to 28 U.S.C. Section 1291: Only final orders and judgments of
                     district courts, or final orders of bankruptcy courts which have been appealed to and fully resolved by
                     a district court under 28 U.S.C. Section 158, generally are appealable. A final decision is one that
                     “ends the litigation on the merits and leaves nothing for the court to do but execute the judgment.”
                     Pitney Bowes, Inc. V. Mestre, 701 F.2d 1365, 1368 (11th Cir. 1983). A magistrate judge’s report and
                     recommendation is not final and appealable until judgment thereon is entered by a district court judge.
                     28 U.S.C. Section 636(c).



           (b)       In cases involving multiple parties or multiple claims, a judgment as to fewer than all parties or all
                     claims is not a final, appealable decision unless the district court has certified the judgment for
                     immediate review under Fed.R.Civ.P. 54(b), Williams v. Bishop, 732 F.2d 885, 885-86 (11th Cir.
                     1984). A judgment which resolves all issues except matters, such as attorneys’ fees and costs, that are
                     collateral to the merits, is immediately appealable. Budinich v. Becton Dickinson & Co., 486 U.S.
                     196, 201, 108 S. Ct. 1717, 1721-22, 100 L.Ed.2d 178 (1988); LaChance v. Duffy’s Draft House, Inc.,
                     146 F.3d 832, 837 (11th Cir. 1998).



           (c)       Appeals pursuant to 28 U.S.C. Section 1292(a): Appeals are permitted from orders “granting,
                     continuing, modifying, refusing or dissolving injunctions or refusing to dissolve or modify
                     injunctions...” and from “[i]nterlocutory decrees...determining the rights and liabilities of parties to
                     admiralty cases in which appeals from final decrees are allowed.” Interlocutory appeals from orders
                     denying temporary restraining orders are not permitted.



           (d)       Appeals pursuant to 28 U.S.C. Section 1292(b) and Fed.R.App.P.5: The certification specified in
                     28 U.S.C. Section 1292(b) must be obtained before a petition for permission to appeal is filed in the
                     Court of Appeals. The district court’s denial of a motion for certification is not itself appealable.



           (e)       Appeals pursuant to judicially created exceptions to the finality rule: Limited exceptions are
                     discussed in cases including, but not limited to: Cohen V. Beneficial Indus. Loan Corp., 337 U.S.
                     541,546,69 S.Ct. 1221, 1225-26, 93 L.Ed. 1528 (1949); Atlantic Fed. Sav. & Loan Ass’n v. Blythe
                     Eastman Paine Webber, Inc., 890 F. 2d 371, 376 (11th Cir. 1989); Gillespie v. United States Steel
                     Corp., 379 U.S. 148, 157, 85 S. Ct. 308, 312, 13 L.Ed.2d 199 (1964).



       2. Time for Filing: The timely filing of a notice of appeal is mandatory and jurisdictional. Rinaldo v. Corbett,
          256 F.3d 1276, 1278 (11th Cir. 2001). In civil cases, Fed.R.App.P.4(a) and (c) set the following time limits:



           (a)       Fed.R.App.P. 4(a)(1): A notice of appeal in compliance with the requirements set forth in
                     Fed.R.App.P. 3 must be filed in the district court within 30 days after the entry of the order or
                     judgment appealed from. However, if the United States or an officer or agency thereof is a party, the
                     notice of appeal must be filed in the district court within 60 days after such entry. THE NOTICE
                     MUST BE RECEIVED AND FILED IN THE DISTRICT COURT NO LATER THAN THE
                     LAST DAY OF THE APPEAL PERIOD - no additional days are provided for mailing. Special
                     filing provisions for inmates are discussed below.



           (b)       Fed.R.App.P. 4(a)(3): “If one party timely files a notice of appeal, any other party may file a notice
                     of appeal within 14 days after the date when the first notice was filed, or within the time otherwise
                     prescribed by this Rule 4(a), whichever period ends later.”




                                                        -2-
Case 6:10-cv-00265-MSS
Case 6:10-cv-00265-MSS
          (c)               Document
                            Document
                Fed.R.App.P.4(a)(4):          23makes
                                             23
                                     If any party Filed
                                                  Filed    03/11/11
                                                           03/11/11
                                                      a timely             Page
                                                                             district3
                                                                           Page
                                                               motion in the            of
                                                                                        of 3
                                                                                     3court 3 PageID
                                                                                               PageID
                                                                                            under         457
                                                                                                           454
                                                                                                  the Federal Rules
                           of Civil Procedure of a type specified in this rule, the time for appeal for all parties runs from the date
                           of entry of the order disposing of the last such timely filed motion.



               (d)         Fed.R.App.P.4(a)(5) and 4(a)(6): Under certain limited circumstances, the district court may extend
                           the time to file a notice of appeal. Under Rule 4(a)(5), the time may be extended if a motion for an
                           extension is filed within 30 days after expiration of the time otherwise provided to file a notice of
                           appeal, upon a showing of excusable neglect or good cause. Under Rule 4(a)(6), the time may be
                           extended if the district court finds upon motion that a party did not timely receive notice of the entry
                           of the judgment or order, and that no party would be prejudiced by an extension.



               (e)         Fed.R.App.P.4(c): If an inmate confined to an institution files a notice of appeal in either a civil case
                           or a criminal case, the notice of appeal is timely if it is deposited in the institution’s internal mail
                           system on or before the last day for filing. Timely filing may be shown by a declaration in
                           compliance with 28 U.S.C. Section 1746 or a notarized statement, either of which must set forth the
                           date of deposit and state that first-class postage has been prepaid.



           3. Format of the notice of appeal: Form 1, Appendix of Forms to the Federal Rules of Appellate Procedure, is a
              suitable format. See also Fed.R.App.P. 3(c). A pro se notice of appeal must be signed by the appellant



           4. Effect of a notice of appeal: A district court loses jurisdiction (authority) to act after the filing of a timely
              notice of appeal, except for actions in aid of appellate jurisdiction or to rule on a timely motion of the type
              specified in Fed.R.App.P. 4(a)(4).




               Rev. 4/04




                                                              -3-
